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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:10CR193
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )         AMENDED MEMORANDUM
                                             )              AND ORDER
JOHN N. GRIFFY,                              )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s pro se motion to reduce his

sentence as a result of the Fair Sentencing Act of 2010 (Filing No. 101). Counsel has

been appointed but has not entered an appearance (Filing No. 112).

      The Defendant pleaded guilty to Count I of the Superseding Indictment, which

charged him with conspiring to distribute and possess with intent to distribute 5 grams or

more of a mixture or substance containing crack cocaine. The Defendant was held

responsible for 55.58 grams of cocaine base, resulting in the application of base offense

level 26. He was sentenced at the low end of his sentencing guideline range to 92 months

imprisonment. Under the amendments to the crack cocaine guidelines, the Defendant's

sentencing guideline remains unchanged at 92-115 months.

      Accordingly,

      IT IS ORDERED:

      1.     The Defendant’s motion to reduce his sentence (Filing No. 101) is denied;

             and

      2.     The Clerk is directed to mail a copy of this order to the Defendant at his last
             known address.

      DATED this 26th day of March, 2012.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
